Case 2:04-cr-20358-SH|\/| Document 75 Filed 07/14/05 Page 1 of 2 Page|D 93

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE .
WESTERN DIVISION BSJULlh A"l‘ oh

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UNITED STATES OF AMERICA,

Plaintiff,
vs. CR. NO. 04-20358-Ma

ALFONZO MITCHELL,

V-._,V~_._/~_._/~.._,v\_»~.._r

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a hearing on July 6, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning August 1, 2005 at 9:30 a.m., With a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from July 6, 2005 through August 12, 2005 is
excludable under 18 U.S.C. § 3161(h}(8)(B)(iV) because the
interests of justice in allowing additional time to prepare
outweigh the need for a Speedy trial.

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IT IS so oRDERF..D this t day of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 75 in
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Honorable Samuel Mays
US DISTRICT COURT

